Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 1 of 90 Page ID
                                 #:21811


     CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
1    Peter A. Schey (Cal. Bar No. 58232)
     Carlos Holguín (Cal. Bar No. 90754)
2    256 South Occidental Boulevard
     Los Angeles, CA 90057
3
     Telephone: (213) 388-8693
4    Facsimile: (213) 386-9484
     Email: crholguin@centerforhumanrights.org
5             pschey@centerforhumanrights.org

6    ORRICK, HERRINGTON & SUTCLIFFE LLP
7    Elena Garcia (Cal. Bar No. 299680)
8    777 South Figueroa Street, Suite 3200
     Los Angeles, CA 90017
9    Telephone: (213) 629-2020
     Email: egarcia@orrick.com
10

11   Attorneys for plaintiffs (listing continues on following page)
12
                                 UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
     JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                     )
              Plaintiffs,                              )
16   - vs -                                            )   [REDACTED] EXHIBITS IN
17                                                     )   SUPPORT OF PLAINTIFFS’
     JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18   OF THE UNITED STATES, et al.,                     )   RESPONSE TO DEFENDANTS’
                                                       )   FIRST JUVENILE COORDINATOR
19            Defendants.                              )   REPORTS VOLUME 11 OF 12
20
                                                       )   [FILED UNDER SEAL PURSUANT
                                                           TO ORDER OF THE COURT
21                                                         DATED JULY 16, 2018]
22
                                                           [HON. DOLLY M. GEE]
23
                                                           Hearing: July 27, 2018
24                                                         Time: 10 AM
25

26
27

28
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 2 of 90 Page ID
                                 #:21812

1    Plaintiffs’ counsel, continued

2    LA RAZA CENTRO LEGAL, INC.
     Michael S. Sorgen (Cal. Bar No. 43107)
3    474 Valencia Street, #295
     San Francisco, CA 94103
4
     Telephone: (415) 575-3500
5
     THE LAW FOUNDATION OF SILICON VALLEY
6    LEGAL ADVOCATES FOR CHILDREN AND YOUTH
     PUBLIC INTEREST LAW FIRM
7    Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
     Katherine H. Manning (Cal. Bar No. 229233)
8
     Annette Kirkham (Cal. Bar No. 217958)
9    152 North Third Street, 3rd floor
     San Jose, CA 95112
10   Telephone:     (408) 280-2437
     Facsimile:     (408) 288-8850
11   Email: jenniferk@lawfoundation.org
             kate.manning@lawfoundation.org
12
            annettek@lawfoundation.org
13
     Of counsel:
14
     YOUTH LAW CENTER
15   Virginia Corrigan (Cal. Bar No. 292035)
16   832 Folsom Street, Suite 700
     San Francisco, CA 94104
17   Telephone: (415) 543-3379

18
     ///
19

20
21

22

23

24

25

26

27
28
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 3 of 90 Page ID
                                 #:21813
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 4 of 90 Page ID
                                 #:21814
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 5 of 90 Page ID
                                 #:21815
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 6 of 90 Page ID
                                 #:21816
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 7 of 90 Page ID
                                 #:21817
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 8 of 90 Page ID
                                 #:21818
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 9 of 90 Page ID
                                 #:21819
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 10 of 90 Page ID
                                  #:21820
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 11 of 90 Page ID
                                  #:21821




                           Exhibit 191
                                                                          952
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 12 of 90 Page ID
                                  #:21822




                                                                          953
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 13 of 90 Page ID
                                  #:21823




                                                                          954
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 14 of 90 Page ID
                                  #:21824




                                                                          955
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 15 of 90 Page ID
                                  #:21825




                           Exhibit 192
                                                                          956
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 16 of 90 Page ID
                                  #:21826




                                                                          957
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 17 of 90 Page ID
                                  #:21827




                                                                          958
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 18 of 90 Page ID
                                  #:21828




                                                                          959
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 19 of 90 Page ID
                                  #:21829




                           Exhibit 193
                                                                          960
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 20 of 90 Page ID
                                  #:21830




                                                                          961
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 21 of 90 Page ID
                                  #:21831




                                                                          962
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 22 of 90 Page ID
                                  #:21832




                                                                          963
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 23 of 90 Page ID
                                  #:21833




                                                                          964
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 24 of 90 Page ID
                                  #:21834




                           Exhibit 194
                                                                          965
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 25 of 90 Page ID
                                  #:21835




                                                                          966
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 26 of 90 Page ID
                                  #:21836




                                                                          967
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 27 of 90 Page ID
                                  #:21837




                                                                          968
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 28 of 90 Page ID
                                  #:21838




                           Exhibit 195
                                                                          969
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 29 of 90 Page ID
                                  #:21839




                                                                          970
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 30 of 90 Page ID
                                  #:21840




                                                                          971
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 31 of 90 Page ID
                                  #:21841




                                                                          972
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 32 of 90 Page ID
                                  #:21842




                           Exhibit 196
                                                                          974
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 33 of 90 Page ID
                                  #:21843




                                                                          975
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 34 of 90 Page ID
                                  #:21844




                                                                          976
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 35 of 90 Page ID
                                  #:21845




                                                                          977
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 36 of 90 Page ID
                                  #:21846




                                                                          978
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 37 of 90 Page ID
                                  #:21847




                           Exhibit 197
                                                                          979
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 38 of 90 Page ID
                                  #:21848




                                                                          980
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 39 of 90 Page ID
                                  #:21849




                                                                          981
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 40 of 90 Page ID
                                  #:21850




                                                                          982
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 41 of 90 Page ID
                                  #:21851




                                                                          983
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 42 of 90 Page ID
                                  #:21852




                           Exhibit 198
                                                                          984
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 43 of 90 Page ID
                                  #:21853




                                                                          985
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 44 of 90 Page ID
                                  #:21854




                                                                          986
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 45 of 90 Page ID
                                  #:21855




                                                                          987
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 46 of 90 Page ID
                                  #:21856




                                                                          988
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 47 of 90 Page ID
                                  #:21857




                           Exhibit 199
                                                                          989
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 48 of 90 Page ID
                                  #:21858




                                                                          990
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 49 of 90 Page ID
                                  #:21859




                                                                          991
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 50 of 90 Page ID
                                  #:21860




                           Exhibit 200
                                                                          992
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 51 of 90 Page ID
                                  #:21861




                                                                          993
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 52 of 90 Page ID
                                  #:21862




                                                                          994
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 53 of 90 Page ID
                                  #:21863




                                                                          995
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 54 of 90 Page ID
                                  #:21864




                           Exhibit 201
                                                                          996
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 55 of 90 Page ID
                                  #:21865




                                                                          997
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 56 of 90 Page ID
                                  #:21866




                                                                          998
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 57 of 90 Page ID
                                  #:21867




                                                                          999
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 58 of 90 Page ID
                                  #:21868




                           Exhibit 202
                                                                         1000
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 59 of 90 Page ID
                                  #:21869




                                                                         1001
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 60 of 90 Page ID
                                  #:21870




                                                                         1002
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 61 of 90 Page ID
                                  #:21871




                                                                         1003
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 62 of 90 Page ID
                                  #:21872




                           Exhibit 203
                                                                         1004
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 63 of 90 Page ID
                                  #:21873




                                                                         1005
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 64 of 90 Page ID
                                  #:21874




                                                                         1006
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 65 of 90 Page ID
                                  #:21875




                           Exhibit 204
                                                                         1007
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 66 of 90 Page ID
                                  #:21876




                                                                         1008
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 67 of 90 Page ID
                                  #:21877




                                                                         1009
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 68 of 90 Page ID
                                  #:21878




                           Exhibit 205
                                                                         1010
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 69 of 90 Page ID
                                  #:21879




                                                                         1011
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 70 of 90 Page ID
                                  #:21880




                                                                         1012
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 71 of 90 Page ID
                                  #:21881




                           Exhibit 206
                                                                         1013
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 72 of 90 Page ID
                                  #:21882




                                                                         1014
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 73 of 90 Page ID
                                  #:21883




                                                                         1015
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 74 of 90 Page ID
                                  #:21884




                           Exhibit 207
                                                                         1016
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 75 of 90 Page ID
                                  #:21885




                                                                         1017
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 76 of 90 Page ID
                                  #:21886




                                                                         1018
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 77 of 90 Page ID
                                  #:21887




                                                                         1019
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 78 of 90 Page ID
                                  #:21888




                           Exhibit 208
                                                                         1020
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 79 of 90 Page ID
                                  #:21889




                                                                         1021
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 80 of 90 Page ID
                                  #:21890




                                                                         1022
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 81 of 90 Page ID
                                  #:21891




                                                                         1023
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 82 of 90 Page ID
                                  #:21892




                           Exhibit 209
                                                                         1024
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 83 of 90 Page ID
                                  #:21893




                                                                         1025
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 84 of 90 Page ID
                                  #:21894




                                                                         1026
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 85 of 90 Page ID
                                  #:21895




                           Exhibit 210
                                                                         1027
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 86 of 90 Page ID
                                  #:21896




                                                                         1028
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 87 of 90 Page ID
                                  #:21897




                                                                         1029
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 88 of 90 Page ID
                                  #:21898




                                                                         1030
Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 89 of 90 Page ID
                                  #:21899




                                                                          973
    Case 2:85-cv-04544-DMG-AGR Document 462-11 Filed 07/19/18 Page 90 of 90 Page ID
                                      #:21900

                                        CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7             On July 19, 2018, I electronically filed the following document(s):
8
           • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9            DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10           11 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
             COURT DATED JULY 16, 2018]
11

12      with the United States District Court, Central District of California by using the
13
        CM/ECF system. Participants in the case who are registered CM/ECF users will be
14

15
        served by the CM/ECF system.

16                                                   /s/Peter Schey
                                                     Attorney for Plaintiffs
17

18

19
20

21

22

23

24

25

26
27

28

                                                    1
